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                          S OUTHERN D ISTRICT OF N EW Y ORK

Christopher D Craft Sr

                                                                      New case
Write the full name of each plaintiff.                                _____CV_______________
                                                                     (Include case number if one has been
                                                                     assigned)

                           -against-
                                                                           COMPLAINT
New York State Police, Rhinbeck New York.
                                                                         Do you want a jury trial?
Trooper McGee                                                                ✔ Yes
                                                                             ☐        ☐ No

Trooper Schacter

Trooper Filipini
Write the full name of each defendant. If you need more
space, please write “see attached” in the space above and
attach an additional sheet of paper with the full list of
names. The names listed above must be identical to those
contained in Section II.




                                               NOTICE
   The public can access electronic court files. For privacy and security reasons, papers filed
   with the court should therefore not contain: an individual’s full social security number or full
   birth date; the full name of a person known to be a minor; or a complete financial account
   number. A filing may include only: the last four digits of a social security number; the year of
   an individual’s birth; a minor’s initials; and the last four digits of a financial account number.
   See Federal Rule of Civil Procedure 5.2.




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I.    BASIS FOR JURISDICTION
Federal courts are courts of limited jurisdiction (limited power). Generally, only two types of
cases can be heard in federal court: cases involving a federal question and cases involving
diversity of citizenship of the parties. Under 28 U.S.C. § 1331, a case arising under the United
States Constitution or federal laws or treaties is a federal question case. Under 28 U.S.C. § 1332,
a case in which a citizen of one State sues a citizen of another State or nation, and the amount
in controversy is more than $75,000, is a diversity case. In a diversity case, no defendant may
be a citizen of the same State as any plaintiff.
What is the basis for federal-court jurisdiction in your case?

     ☐ Federal Question
     ✔




     ☐ Diversity of Citizenship

A. If you checked Federal Question

Which of your federal constitutional or federal statutory rights have been violated?
Conspiracy, 18 USC 3.71 deprivation of rights under color of law.                  18, USC, 242
Excessive force, 42 USC 1983, Breaking, and entering, false arrest.
Violations 1 through 8 of the United States of America's Constitution, and #10.
Illegal search and seizure.

 B. If you checked Diversity of Citizenship

         1. Citizenship of the parties

 Of what State is each party a citizen?

 The plaintiff ,                                                      , is a citizen of the State of
                    (Plaintiff’s name)



 (State in which the person resides and intends to remain.)

 or, if not lawfully admitted for permanent residence in the United States, a citizen or
 subject of the foreign state of

                                                                  .
 If more than one plaintiff is named in the complaint, attach additional pages providing
 information for each additional plaintiff.



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 If the defendant is an individual:

                   New York State Police Rhinbeck New York. Trooper McGee Trooper Shactor Trooper Filipini
 The defendant,                                                         , is a citizen of the State of
                    (Defendant’s name)

New York
 or, if not lawfully admitted for permanent residence in the United States, a citizen or
 subject of the foreign state of

                                                                    .
 If the defendant is a corporation:

 The defendant,                                               , is incorporated under the laws of

 the State of

 and has its principal place of business in the State of

 or is incorporated under the laws of (foreign state)

 and has its principal place of business in                                                              .

 If more than one defendant is named in the complaint, attach additional pages providing
 information for each additional defendant.

II. PARTIES

A. Plaintiff Information
Provide the following information for each plaintiff named in the complaint. Attach additional
pages if needed.

Christopher                     D                        Craft
First Name                      Middle Initial           Last Name

(C) 5901 Rt 9               Rhinbeck
Street Address
Dutchess                                         New York                        12572
County, City                                     State                           Zip Code
845-554-9203                                     hilliamcroft@gmail.com
Telephone Number                                 Email Address (if available)



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B. Defendant Information
To the best of your ability, provide addresses where each defendant may be served. If the
correct information is not provided, it could delay or prevent service of the complaint on the
defendant. Make sure that the defendants listed below are the same as those listed in the
caption. Attach additional pages if needed.

Defendant 1:       New York State Police
                  First Name                      Last Name

                  Current Job Title (or other identifying information)
                  Rt 9 Rhinbeck
                  Current Work Address (or other address where defendant may be served)
                  Dutchess                            New York
                  County, City                       State                Zip Code

Defendant 2:       Trooper                        Schacter
                  First Name                      Last Name
                  Sargent
                  Current Job Title (or other identifying information)
                  Rt 9 Rhinbeck New York
                  Current Work Address (or other address where defendant may be served)
                  Dutchess                            New York
                  County, City                           State               Zip Code

Defendant 3:       Trooper                        Filipini
                  First Name                      Last Name
                  Trooper
                  Current Job Title (or other identifying information)
                  Rt 9 Rhinbeck New York
                  Current Work Address (or other address where defendant may be served)
                   Dutchess                              New York
                  County, City                           State               Zip Code




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Defendant 4:      Brian                                 McGee
                   First Name                     Last Name
                  Trooper BCI
                   Current Job Title (or other identifying information)
                  Rt 9 Rhinbeck
                   Current Work Address (or other address where defendant may be served)
                  Dutchess                                    New York
                   County, City                          State             Zip Code

III. STATEMENT OF CLAIM
Place(s) of occurrence:   Rt 9 Rhinbeck New York


Date(s) of occurrence:    3/17/2022, 3/202022, 5/20/2022
FACTS:
State here briefly the FACTS that support your case. Describe what happened, how you were
harmed, and what each defendant personally did or failed to do that harmed you. Attach
additional pages if needed.
On April 17th 2022 approximately 7:30 p.m. The New York State Troopers from the
Rhinbeck Troopers barrocks we're called to my son Jeremy crafts apartment building. I
was standing by my 1993 Ford club wagon RV when the troopers arrived.Trooper
Filipini asked me about a man with a gun. I explained to her that l was the man with
the gun she was referring to, and I legally owned the gun, and it was put away
safe.Trooper Filipini thanked me for my cooperation. She finished her investigation and
left shortly after. Three days after that incident I was traveling south on route 9 in the
town of statsburg with my son Jeremy, and my granddaughter Holly. I looked in the
rear view mirror and saw two trooper cars aggressively persuing me with their lights
flashing. I immediately pulled to the side of the road onto an joining road. Four
troopers aggressively approached my RV as they unsnapped their holsters of their
sidearm weapons. Two on the driver's side, and two on the passenger side. It was
trooper Filipini that approached my driver's window first. She asked me for my driver's
license. I protested the alleged traffic stop because I had done nothing wrong. Trooper
Filipini then asked me if I had my gun in my vehicle. I told Trooper Filipini that it was
none of her business what was in my vehicle. I asked Trooper Filipini to call her
sergeant because she was violating my rights. Trooper Filipini stated that her sergeant
was already here. I looked in my rear view mirror and saw at least a dozen trooper cars,
some patrol cars with their lights on, and other unmarked cars. Not knowing what to
do, and being in fear for my safety my son's safety, and my granddaughter safety I
rolled the driver side window most of the way up. Trooper Schacter aggressively came
to my window demanding I exit the vehicle. After protesting to Sergeant Shactor for
quite some time, I felt in grave danger and told him I was going to pull away. Within
moments two trooper cars pulled in front of me and behind me. Shortly thereafter
sergeant broke the window out of my RV, reached inside unlock the door opened it and
                                                                                        Page 5
started forcing me out. I was forced into handcuffs and forced into the
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Back of a patrol car. Approximately 2 months later on June 20th 2022 approximately
11:30 a.m. I was traveling north on route 9 in route to my son Jeremy's house. I was
forced off the road by the New York State Troopers into a lot next to my son's apartment
building.
A SWAT team vehicle showed up shortly after force me out of my RV forced me in
handcuffs and forced me to the ground, refusing to arrest me as they did so. Trooper
McGee, and his underlings produced and illegal search warrant for my son's building
and his landlords commercial building.. The




INJURIES:
If you were injured as a result of these actions, describe your injuries and what medical
treatment, if any, you required and received.

I have a lifetime of mental physical emotional and monetary trauma, (PTSD),@ derived
from the illegal actions of the New York State Troopers since I was the tenger age of 8
years old.
When I was 8 years old the New York State Troopers illegally arrested my father beat
him black and blue and eventually the charges were dropped.
When I was 18 years old the New York State Troopers broke my hand in an illegal arrest.
Over the past 20 years the New York State Troopers, and other local law enforcement
have illegally taken a half a dozen legally owned guns of mine and they were never
returned to me.
Some of them were family heirlooms.
 IV. RELIEF
State briefly what money damages or other relief you want the court to order.

I respectfully request from the court to remand the defendants to a federal holding
facility for their violations against my constitutional, and human rights Which has given
me a lifelong case of PTSD.
I am requesting the court order the state and local authorities to return my previously
stolen guns.
I also respectfully request 20 million dollars as compensation for my life long trauma of
PTSD from the beating of my fathe, The broken bones in my hand , my legally owned
guns stolen from me, and placing my son , and my granddaughter in fear and in harms
way, resulting in PTSD in them as well.
I'm also requesting 30 million dollars in punitive damages.




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V. PLAINTIFF’S CERTIFICATION AND WARNINGS

By signing below, I certify to the best of my knowledge, information, and belief that: (1) the
complaint is not being presented for an improper purpose (such as to harass, cause
unnecessary delay, or needlessly increase the cost of litigation); (2) the claims are supported
by existing law or by a nonfrivolous argument to change existing law; (3) the factual
contentions have evidentiary support or, if specifically so identified, will likely have
evidentiary support after a reasonable opportunity for further investigation or discovery;
and (4) the complaint otherwise complies with the requirements of Federal Rule of Civil
Procedure 11.

I agree to notify the Clerk's Office in writing of any changes to my mailing address. I
understand that my failure to keep a current address on file with the Clerk's Office may
result in the dismissal of my case.


Each Plaintiff must sign and date the complaint. Attach additional pages if necessary. If seeking to
proceed without prepayment of fees, each plaintiff must also submit an IFP application.

12-5-2022
Dated                                                   Plaintiff’s Signature
Christopher                     D                       Craft
First Name                     Middle Initial           Last Name
Jeremy Craft C/O Christopher Craft
Street Address
#C 5901 Rt9 Rhinbeck                             New York                       12572
County, City                                    State                           Zip Code
Dutchess                                                hilliamcroft@gmail.com
Telephone Number                                        Email Address (if available)




I have read the Pro Se (Nonprisoner) Consent to Receive Documents Electronically:
 ✔ Yes
 ☐       ☐ No

     If you do consent to receive documents electronically, submit the completed form with your
     complaint. If you do not consent, please do not attach the form.




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                     United States District Court
                     Southern District of New York



    Pro Se (Nonprisoner) Consent to Receive Documents Electronically
Parties who are not represented by an attorney and are not currently incarcerated may
choose to receive documents in their cases electronically (by e-mail) instead of by regular
mail. Receiving documents by regular mail is still an option, but if you would rather receive
them only electronically, you must do the following:

     1. Sign up for a PACER login and password by contacting PACER 1 at
        www.pacer.uscourts.gov or 1-800-676-6856;
     2. Complete and sign this form.

If you consent to receive documents electronically, you will receive a Notice of Electronic
Filing by e-mail each time a document is filed in your case. After receiving the notice, you
are permitted one “free look” at the document by clicking on the hyperlinked document
number in the e-mail. 2 Once you click the hyperlink and access the document, you may not
be able to access the document for free again. After 15 days, the hyperlink will no longer
provide free access. Any time that the hyperlink is accessed after the first “free look” or the
15 days, you will be asked for a PACER login and may be charged to view the document. For
this reason, you should print or save the document during the “free look” to avoid future
charges.
                                           IMPORTANT NOTICE
Under Rule 5 of the Federal Rules of Civil Procedure, Local Civil Rule 5.2, and the Court’s
Electronic Case Filing Rules & Instructions, documents may be served by electronic means.
If you register for electronic service:

         1. You will no longer receive documents in the mail;
         2. If you do not view and download your documents during your “free look” and
            within 15 days of when the court sends the e-mail notice, you will be charged for
            looking at the documents;
         3. This service does not allow you to electronically file your documents;
         4. It will be your duty to regularly review the docket sheet of the case. 3

1Public Access to Court Electronic Records (PACER) (www.pacer.uscourts.gov) is an electronic public access service that
allows users to obtain case and docket information from federal appellate, district, and bankruptcy courts, and the PACER
Case Locator over the internet.
2You must review the Court’s actual order, decree, or judgment and not rely on the description in the email notice alone.
See ECF Rule 4.3
3The docket sheet is the official record of all filings in a case. You can view the docket sheet, including images of
electronically filed documents, using PACER or you can use one of the public access computers available in the Clerk’s
Office at the Court.
                                     500 PEARL STREET | NEW YORK, NY 10007
                                 300 QUARROPAS STREET | WHITE PLAINS, NY 10601
                                          PRO SE INTAKE UNIT: 212-805-0175
rev. 2/9/15
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                                                                 CONSENT TO ELECTRONIC SERVICE
I hereby consent to receive electronic service of notices and documents in my case(s) listed below. I
affirm that:

        1. I have regular access to my e-mail account and to the internet and will check regularly for
           Notices of Electronic Filing;
        2. I have established a PACER account;
        3. I understand that electronic service is service under Rule 5 of the Federal Rules of Civil
           Procedure and Rule 5.2 of the Local Civil Rules, and that I will no longer receive paper
           copies of case filings, including motions, decisions, orders, and other documents;
        4. I will promptly notify the Court if there is any change in my personal data, such as name,
           address, or e-mail address, or if I wish to cancel this consent to electronic service;
        5. I understand that I must regularly review the docket sheet of my case so that I do not miss a
           filing; and
        6. I understand that this consent applies only to the cases listed below and that if I file
           additional cases in which I would like to receive electronic service of notices of documents, I
           must file consent forms for those cases.

Civil case(s) filed in the Southern District of New York:
        Note: This consent will apply to all cases that you have filed in this court, so please list all of
        your pending and terminated cases. For each case, include the case name and docket number
        (for example, John Doe v. New City, 10-CV-01234).
            Christopher craft versus New York State Police Rhinebeck New York
            Christopher craft versus Dutchess county supreme Court and judge Christie L
            D'alessio


Christopher D Craft Sr
Name (Last, First, MI)

Jeremy craft care of Christopher craft apartment C 5901 route 9 Rhinebeck
                                                                                New York         12572
Address                                                         City            State            Zip Code

845-554-9203                                                                    hilliamcroft@gmail.com
Telephone Number                                                                E-mail Address

12-5-2022
Date                                                                            Signature

Return completed form to:
Pro Se Intake Unit (Room 200)
500 Pearl Street
New York, NY 10007
